           Case 5:17-cv-00285-R Document 1 Filed 03/14/17 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

 BETTY TURNEY,

                                   Plaintiff,
 v.                                                Case No: CIV-17-285-R

 METROPOLITAN LIFE INSURANCE
 COMPANY,
                                                               JURY TRIAL DEMANDED
                               Defendant.

                                      COMPLAINT

      COMES NOW, the Plaintiff, Betty Turney, and for her cause of action

against Defendant, Metropolitan Life Insurance Company, alleges and states as

follows:

      1.     Betty Turney is a resident of Tulsa, Tulsa County, Oklahoma. Ms.

Turney is a citizen of the State of Oklahoma.

      2.     Defendant,     Mid-Continent       Casualty   Company,     (hereinafter   “Mid-

Continent”) is a foreign corporation incorporated and domiciled in the State of Ohio. It

maintains its principal place of business in Tulsa, Oklahoma, is authorized to transact

business within the State of Oklahoma and may be served with process through its

designated service agent, identified as John Doak, Oklahoma Insurance Commissioner,

5 Corporate Plaza, Suite 100, 3625 NW 56th Street, Oklahoma City, Oklahoma 73112.

      3.     The amount involved is in excess of the amount required for diversity

jurisdiction pursuant to §1332 of Title 28 of the United States Code.
            Case 5:17-cv-00285-R Document 1 Filed 03/14/17 Page 2 of 4



      4.      Based on the foregoing, this Court has jurisdiction over these parties and

the subject matter and venue is proper herein.

      5.      At all times material hereto the Plaintiff was insured under a MetLife Long-

Term Care insurance policy, policy number 999580077.

      6.      Defendant, Metropolitan Life Insurance Company sold an individual

long term care insurance policy to Betty Turney effective February 13, 2002.

This insurance policy was in force at all times material hereto.

      7.      Plaintiff Betty Turney became chronically ill and incurred expenses

for care and treatment and timely and properly made claim to Defendant for

policy benefits and met all conditions precedent for payment of the policy

benefits.

      8.      Defendant breached its contract with Plaintiff by refusing to pay

policy benefits and by improperly asserting exclusions from coverage.

      9.      In its handling of Plaintiff’s claims, and as a matter of routine

business practice in handling like claims under these policies, the Defendant

breached the policy contract and breached its duty to deal fairly and act in good

faith towards the Plaintiff by:

      a.      failing and refusing payment and other policy benefits on behalf of
              Plaintiff at a time when Defendant knew that she was entitled to
              those benefits;

      b.      failing to properly investigate Plaintiff’s claims and to obtain
              additional information both in connection with the original refusal and
              following the receipt of additional information;




                                            2
            Case 5:17-cv-00285-R Document 1 Filed 03/14/17 Page 3 of 4



      c.      withholding payment of the benefits on behalf of Plaintiff knowing
              that Plaintiff’s claims for those benefits were valid;

      d.      refusing to honor Plaintiff’s claims in some instances for reasons
              contrary to the express provisions of the policy and/or applicable
              law;

      e.      refusing to honor Plaintiff’s claims in some instances by applying
              restrictions not contained in the policy;

      f.      refusing to honor Plaintiff’s claims in some instances by knowingly
              misconstruing and misapplying provisions of the policy;

      g.      failing to adopt and implement reasonable standards for the prompt
              investigation and reasonable handling of claims arising under these
              policies, to include Plaintiff’s claims;

      h.      not attempting in good faith to effectuate a prompt, fair and equitable
              settlement of Plaintiff’s claims once liability had become reasonably
              clear;

      i.      forcing Plaintiff, pursuant to its standard claims practice, to retain
              counsel in order to secure benefits Defendant knew were payable;

      j.      failing to properly evaluate any investigation that was performed;

      k.      handling claims and providing benefits in a manner that is
              inconsistent with the policy language and promises made to the
              insured at the time of issuance of the policy; and,

      l.      intentionally processing claims with conduct the Defendant knows is
              different than the benefits, claims service, and coverage that the
              Defendant promises and represents to their insured;

all in violation of the covenant of good faith and fair dealing and resulting in

financial benefit to the Defendant.

      10.     As a proximate result of Defendant’s acts and omissions described

above, Plaintiff has suffered the loss of the policy coverage, physical bodily




                                          3
            Case 5:17-cv-00285-R Document 1 Filed 03/14/17 Page 4 of 4



injury, mental and emotional distress, financial hardship, and other incidental and

consequential damages.

      11.     Defendant has been guilty of reckless disregard for the rights of

others or has acted intentionally and with malice entitling Plaintiff to recover

punitive damages.      Defendant’s conduct as set out above was and is life

threatening to humans.

      WHEREFORE, Plaintiff prays for judgment against the Defendant,

Metropolitan Life Insurance Company, in an amount in excess of $75,000.00

actual damages and an amount in excess of $75,000.00 punitive damages with

interest and costs of this action, for a reasonable attorney fee, and for such other

relief as may be appropriate.

                                      MANSELL, ENGEL & COLE

                                      s/Mark A. Engel
                                      Steven S. Mansell, OBA #10584
                                      Mark A. Engel, OBA #10796
                                      Kenneth G. Cole, OBA #11792
                                      M. Adam Engel, OBA #32384
                                      101 Park Avenue, Suite 665
                                      Oklahoma City, OK 73102
                                      T: (405) 232-4100 ** F: (405) 232-4140
                                      E-mail: mec@meclaw.net

                                      ATTORNEYS FOR PLAINTIFF




                                         4
